Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 1 of 27




              SCHEDULE A
 Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 2 of 27




                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 3 of 27




              SCHEDULE B
 Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 4 of 27




                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 5 of 27




              SCHEDULE C
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 6 of 27




                                  SCHEDULE C

                              LEGAL DESCRIPTION

                                 Starr County, Texas

Tract: RGV-RGC-5061, 5061-1
Owner: Martin Ricardo Garza, et al.
Total Acreage: 2.333

Tract No. 1: RGV-RGC-5061
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 7 of 27




                         SCHEDULE C (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 8 of 27




                          SCHEDULE C (Cont.)
Tract No. 2: RGV-RGC-5061-1
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 9 of 27




                         SCHEDULE C (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 10 of 27




               SCHEDULE D
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 11 of 27



                             SCHEDULE D

                             MAP or PLAT

LAND TO BE CONDEMNED
Tract No. 1: RGV-RGC-5061
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 12 of 27



                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 13 of 27



                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 14 of 27



                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 15 of 27



                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 16 of 27



                              SCHEDULE D (Cont.)
Tract No. 2: RGV-RGC-5061-1
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 17 of 27



                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 18 of 27



                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 19 of 27




                         SCHEDULE D (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 20 of 27



                         SCHEDULE D (Cont.)




Tracts: RGV-RGC-5061 & RGV-RGC-5061-1
Owner: Martin Ricardo Garza, et al.
Acreage: 2.333
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 21 of 27




               SCHEDULE E
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 22 of 27



                                      SCHEDULE E

                                     ESTATE TAKEN

                                    Starr County, Texas

Tracts: RGV-RGC-5061 & RGV-RGC-5061-1
Owner: Martin Ricardo Garza, et al.
Total Acreage: 2.333

       The estate acquired is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
       Reserving to the owners of the land described in conveyance recorded as Instrument
No. 2003-230492, Vol. 965, Page 344, recorded in Official Records of Starr County, Texas,
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;
       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation, and maintenance of
the border barrier.
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 23 of 27




                         SCHEDULE E (Cont.)
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 24 of 27




               SCHEDULE F
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 25 of 27




                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION
    The sum estimated as just compensation for the lands being taken is TWENTY SEVEN

THOUSAND, ONE HUNDRED AND FIFTEEN DOLLARS AND NO/100 ($27,115.00),

to be deposited herewith in the Registry of the Court for the use and benefit of the persons

entitled thereto.

TRACT No. 1: RGV-RGC-5061:
The sum estimated as just compensation for the land acquired is FIFTEEN
THOUSAND, SEVEN HUNDRED AND SEVENTY TWO DOLLARS AND
00/100 ($15,772.00).


TRACT No. 2: RGV-RGC-5061-1:
The sum estimated as just compensation for the land acquired is ELEVEN
THOUSAND, THREE HUNDRED AND FORTY THREE DOLLARS AND
00/100 ($11,343.00).
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 26 of 27




               SCHEDULE G
Case 7:20-cv-00268 Document 1-1 Filed on 09/11/20 in TXSD Page 27 of 27
